    Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 1 of 35



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

 UNITED STATES OF AMERICA,              )
                                        )
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 TROY MORELAND, ASHLEY MORELAND, )
 FIRST STATE BANCSHARES OF              )
                                                         Case No. 6:18-cv-00053
 YOAKUM, INC., AND                      )
 U.S. BANK AS TRUSTEE FOR MASTR         )
 ASSET-BACKED SECURITIES TRUST          )
 2006-HE4 MORTGAGE PASS-THROUGH         )
 CERTIFICATES, SERIES 2006-HE4,         )
                                        )
          Defendants.                   )
 _______________________________________)

                    UNITED STATES’ FIRST AMENDED COMPLAINT

       Plaintiff, United States of America, pursuant to 26 U.S.C., Sections 7401 and 7403, at the

direction of the Attorney General of the United States, or his delegate, and at the request of the

Secretary of the Treasury, or his delegate, files this Complaint against Defendant, Troy

Moreland, and Ashley Moreland (the Moreland Defendants): (1) for a judgment against the

Moreland Defendants for unpaid federal tax liabilities, (2) to foreclose federal tax liens against,

and sell, certain real property located in Victoria County, Texas, owned by the Moreland

Defendants, and (3) to obtain, if appropriate, the 10% surcharge available under sub-chapter B or

C of the Federal Debt Collection Procedure Act.

                                 JURISDICTION AND VENUE

       1.      This Court has jurisdiction of this action under 26 U.S.C. §§ 7402(a) and 7403

and 28 U.S.C. §§ 1331, 1340 and 1345.


                                                                                           Government
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                                                                                                2
    Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 2 of 35



                                         THE PARTIES

       2.      Plaintiff is the United States of America.

       3.      Defendant, Troy Moreland, is the taxpayer owing taxes to the United States. He

resides in Yoakum, Texas, which is within the jurisdiction of this Court.

       4.      Defendant, Ashley Moreland, the wife of Troy Moreland, is a taxpayer owing

taxes to the United States. She resides in Yoakum, Texas, within the jurisdiction of this Court.

       5.      Defendant First State Bancshares of Yoakum, Inc. (“First State”) is joined as a

defendant in accordance with 26 U.S.C. § 7403(b) because it may hold a mortgage lien on the

real property upon which foreclosure is being requested. Defendant First State may be served by

serving its registered agent and President, A.G. Hermann, III, at 402 West Grand Avenue,

Yoakum, Texas, 77995.

       6.      Defendant U.S. Bank National Association, as Trustee for Mastr Asset-Backed

Securities Trust 2006-HE4 Mortgage Pass-Through Certificates, Series 2006-HE4 (“U.S. Bank

as Trustee”) is joined as a defendant in accordance with 26 U.S.C. § 7403(b) because it holds a

mortgage lien on the real property upon which foreclosure is being requested.

                      COUNT I (JUDGMENT FOR TAX LIABILITY)

       7.      A delegate of the Secretary of the Treasury assessed against the Moreland

Defendants for unpaid federal income tax (Form 1040), statutory additions, and interest on the

dates and for the periods as follows:

 Type of Tax    Tax Period        Date of               Unpaid Balance       Date Notice of Federal
                                 Assessment          as of August 15, 2018      Tax Lien Filed

 Form 1040         2012          09-29-2014              $34,047.63               04-18-2016
 Form 1040         2013          11-03-2014              $52,100.75               04-18-2016
 Form 1040         2014          11-23-2015              $46,318.81               04-18-2016
                                                  Total $132,467.19

                                                 2
    Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 3 of 35



[See Certificates of Assessments, Payments and Other Specified Matters (Form 4340), and

Account Transcripts, for the Moreland Defendants for the years 2012, 2013, and 2014, attached

as Government Exhibits 1-3]. These assessments were made against the Moreland Defendants

based on their own voluntarily filed tax returns.

        8.         Despite having been given proper notice and demand for payment of the tax

liabilities shown in paragraph 7, above, the Moreland Defendants have not fully paid the

amounts due. The United States is therefore entitled to a judgment stating that the Moreland

Defendants are liable to the United States for $132,467.19, as of August 15, 2018, plus

prejudgment and post judgment interest at the rates set forth in 26 U.S.C. §§ 6601 and 6621, 28

U.S.C. § 1961(c), until paid.

                          COUNT II (ENFORCEMENT OF TAX LIENS)

        9.         At the time of each of the above-described assessments, a federal tax lien arose,

under 26 U. S. C. Section 6321, the tax liabilities and attached to all property or rights to

property then owned, or thereafter acquired, by the Moreland Defendants for the unpaid income

tax liabilities.

        10.        The Moreland Defendants are the owners of certain real property located at

369 Bruce Lane, Yoakum, Texas 77995 (“the Bruce Lane property”). In addition, Troy

Moreland owns additional acreage that surrounds the Bruce Lane property. Upon information

and belief, the total acreage of the Bruce Lane property and the surrounding acreage is

approximately 25 acres. The warranty deeds issued to the Moreland Defendants for the Bruce

Lane property and the surrounding acreage are attached as Government Exhibits 4 – 5.

        11.        The Internal Revenue Service recorded Notices of Federal Tax Lien against



                                                    3
    Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 4 of 35



Moreland Defendants in the Office of the County Clerk of Victoria County, Texas, with respect

to the above described tax liabilities on April 18, 2016, and December 20, 2016.

        12.     Certified copies of the Notices of Federal Tax Lien are attached as Government

Exhibits 6 - 7. The federal tax liens against the Moreland Defendants attach to and encumber

the Bruce Lane property and the surrounding acreage.

        13.     As the tax liabilities remain unpaid, the federal tax liens should be foreclosed

against the Moreland Defendant’s interest in the real properties described in paragraph 10 above.

Additionally, the Bruce Lane property and the surrounding acreage should be ordered sold free

and clear of any rights, titles, liens, claims, or interests of any of the parties to this action with the

proceeds of the sale being paid first to the costs of sale and then to the parties in the order of their

priority of interest in the property.

        14.     Defendants First Share and U.S. Bank as Trustee may claim an interest in the

Bruce Lane property and if so their priority must be determined.

              COUNT III (FEDERAL DEBT COLLECTION PROCEDURE ACT)

        15.     28 U.S.C. § 3011 authorizes the United States to recover a surcharge of 10% of

the amount of the debt in the event the United States avails itself of the pre-judgment or post

judgment relief as set forth in Subchapter B or C of the Federal Debt Collection Procedure Act,

28 U.S.C. §§ 3001 et. seq., in order to cover the cost of processing and handling the litigation

and enforcement under this chapter of the claim for such debt.

        WHEREFORE, the United States of America requests that this Court:

        a.      Enter judgment in favor of the United States and against the Moreland Defendants

for unpaid federal income tax liabilities for the years 2012, 2013, and 2014, in the amount of



                                                    4
    Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 5 of 35



$132,467.19, as of August 15, 2018, plus prejudgment and post judgment interest at the rates set

forth in 26 U.S.C. §§ 6601, 6621 and 28 U.S.C. § 1961(c) until paid;

        b.      Determine that the United States has valid and subsisting federal tax liens which

attached to all of the property and rights to property of the Moreland Defendants, including, their

interest in the real property described in paragraph 10, above;

        c.      Determine the priority of the interests of the parties in the subject real property

described in paragraph 10, above;

        d.      Order that the United States’ federal tax liens be foreclosed upon the real property

described in paragraph 10, above, that the property be sold free and clear of any rights, titles,

liens, claims, or interests of any of the parties to this action, and that the net proceeds of the sale

be distributed to the parties in the order of their priority of interest in the property;

        e.      Order that, if the amounts distributed to the United States from the net proceeds of

the sale of the real property described in paragraph 10 above are insufficient to satisfy fully the

above-described tax liabilities, the United States have judgment for the deficiency against the

Moreland Defendants; and




                                                    5
    Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 6 of 35




       f.      Award the United States such other and further relief as this Court deems just and

proper, including, judgment for an amount equal to its costs incurred in this action and for any

surcharge authorized by 28 U.S.C. § 3011.

                                             RYAN K. PATRICK
                                             United States Attorney

                                             _/s/ Moha P. Yepuri_________________________
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                                             ATTORNEYS FOR THE UNITED STATES




                                                 6
    Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 7 of 35



                                CERTIFICATE OF SERVICE

       I certify that on November ____, 2018, the following persons have been served with a
copy of the foregoing motion via email by the Court’s ECF system:

Jeffrey Ray Seewald
McGlinchey Stafford, PLLC
1001 McKinney, Suite 1500
Houston, TX 77002

Amanda Goldstein
HICKS THOMAS LLP
700 Louisiana St., Suite 2000
Houston, TX 77002

Richard T Chapman
Anderson Smith et al
PO Box 1969
Victoria, TX 77902

                                           /s/ Moha P. Yepuri
                                           MOHA P. YEPURI




                                              7
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 8 of 35




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Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 9 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 10 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 11 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 12 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 13 of 35




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Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 14 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 15 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 16 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 17 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 18 of 35




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Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 19 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 20 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 21 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 22 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 23 of 35




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                                                                      4
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 24 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 25 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 26 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 27 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 28 of 35




                                                                 Government
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Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 29 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 30 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 31 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 32 of 35




                                                                 Government
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                                                                      6
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 33 of 35
Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 34 of 35




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Case 6:18-cv-00053 Document 13-2 Filed on 11/02/18 in TXSD Page 35 of 35
